                                          Entered on Docket
                                          May 02, 2019
                                          EDWARD J. EMMONS, CLERK
                                          U.S. BANKRUPTCY COURT
                                          NORTHERN DISTRICT OF CALIFORNIA



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                                        Signed and Filed: May 2, 2019
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                                        __________________________________________
 5                                      HANNAH L. BLUMENSTIEL
                                        U.S. Bankruptcy Judge
 6

 7                          UNITED STATES BANKRUPTCY COURT
 8                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9   In re:                                   ) Case No. 19-30232 HLB
                                              )
10   MUNCHERY, INC.,                          ) Chapter 11
                                              )
11                    Debtor.                 )
                                              )
12
                        ORDER CONTINUING HEARING ON MOTION
13               TO APPROVE MR. BERIKER’S SALARY AND SUCCESS FEE
14        This matter comes before the court on Debtor’s Motion for
15   Order Pursuant to Sections 363(B) and 503(B) Approving Salary
16   and Success Fee (“Motion”; Dkt. 37) which is currently set for
17   a continued hearing on May 9, 2019.               Debtor originally set the
18   Motion for hearing on April 4, 2019.                After review of service
19   of the Motion, on March 27, 2019 the court entered the
20   following docket text order:
21               The court has reviewed service of the Motion
                 for Order Pursuant to Section 363(b) and
22               503(b) Approving Salary and Success Fee
                 ("Motion") filed by Debtor and finds it to
23               be defective. Debtor filed and served the
                 motion prior to entry of the court's Order
24               Limiting Service (Dkt. 57) and Debtor did
                 not serve all creditors as required by Fed.
25               R. Bankr. P. 2002(a)(2) and (a)(6).
                 Accordingly, the court ORDERS as follows:(1)
26               The April 4, 2019 hearing on the Motion is
                 continued to May 9, 2019 at 10:00 a.m.; (2)
27               Debtor shall file and serve a notice of
                 continued hearing at least 21 days prior to
28               the continued hearing date; (3) Debtor shall



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                 serve the notice of continued hearing in
 1               accordance with the court's Order Limiting
                 Service; (4) at least 21 days prior to the
 2               continued hearing dated, Debtor shall serve
                 the moving papers on creditors who were not
 3               originally served in accordance with the
                 court's Order Limiting Service; i.e. secured
 4               creditors not previously served including
                 all subordinated secured creditors; (5)
 5               Debtor shall file a certificate of service
                 proving compliance with this docket text
 6               order at least three days prior to the
                 continued hearing.
 7

 8        On April 18, 2019, Debtor timely filed a notice of the
 9   continued hearing (“Notice”; Dkt. 154).             On May 1, 2019, Debtor
10   filed a certificate of service of the Notice (“COS of Notice”;
11   Dkt. 172), a supplemental certificate of service of the Notice
12   (“Supplemental COS”; Dkt. 173), and a certificate of service of
13   the moving papers (“COS of Motion”; Dkt. 174).                The COS of Motion
14   complies with the court’s March 27 docket text order.                  The
15   Notice, and service thereof, however, present a problem requiring
16   the court to further continue the hearing on the Motion.
17        Bankruptcy Local Rule 9014-1(c)(2) provides:
18               “where relief is sought generally, and not
                 against an identified, named entity, the
19               motion or application, notice of the
                 hearing, supporting declarations, memoranda,
20               and all other papers shall be filed and
                 served at least 21 days before the actual
21               scheduled hearing date. Any opposition to
                 the requested relief shall be filed and
22               served on the initiating party no less than
                 7 days before the actual scheduled hearing
23               date.”
24   B.L.R. 9014-1(c)(2) (emphasis added).             The Notice provides that
25   any opposition must be filed at least 14 days prior the hearing;
26   i.e. by April 25, 2019.        This does not present a problem as to
27   the creditors served with the Notice on April 9, 2019 as
28   reflected the in the COS of Notice.            Those creditors had 30 days’



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 1   notice of the hearing and ample time to file an objection by
 2   April 25, 2019.         But, as set forth in the Declaration of Ryan A.
 3   Witthans to Accompany Certificates of Service (Dkt. 177),
 4   Debtor’s service of the Notice on April 9 had deficiencies; i.e.
 5   Debtor did not serve several creditors (“Omitted Creditors”) 1.
 6   Debtor sought to remedy the deficiencies by serving the Omitted
 7   Creditors on April 18, 2019 as reflected in the Supplemental COS.
 8   Service of the Notice on April 18 provided 21 days’ notice of the
 9   hearing, as required by B.L.R. 9014-1(c)(2).                 The Notice,
10   however, required the Omitted Creditors to object 14 days prior
11   to the hearing rather than 7 days as provided for in the local
12   rule.      Because they were not served with the Notice until April
13   18, the Omitted Creditors did not receive adequate time to object
14   to the Motion.
15           Accordingly, the court ORDERS as follows:
16        (1)   The May 9, 2019 hearing on the Motion is continued to May
17              30, 2019 at 10:00 a.m. at 450 Golden Gate Avenue, 16th
18              Floor, Courtroom 19, San Francisco, California 94102
19        (2)   The Omitted Creditors shall have until May 16, 2019 to
20              file any objection to the Motion.
21        (3)   On or before May 16, 2019, Debtor shall serve this order
22              on the Omitted Creditors and all other creditors who
23              should receive notice of the continued hearing.
24        (4)   Debtor shall file any Reply by May 23, 2019.
25                                   **END OF ORDER**
26

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28   1   The list of Omitted Creditors is attached as Exhibit A to the Order.



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                                EXHIBIT A




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                                                                                                                           EXHIBIT A
                    Description                                    Creditor                              Addr1                                 Addr2                                Addr3                         Addr4                     Addr5
Special Notice Parties                         Conrad Chu                                    c/o Binder & Malter LLP       Attn: Robert G. Harris, Esq.                 2775 Park Ave                Santa Clara, CA 95050
Special Notice Parties                         LA Specialty Produce Co.                      dba San Francisco Specialty   c/o Rynn & Janowsky, LLP                     Attn: June Monroe            4100 Newport Pl Dr, Ste 700   Newport Beach, CA 92660
Secured Party                                  Andrew N. Allen                               416 Duncan St, Apt. 5         San Francisco, CA 94131
Secured Party                                  Apple Financial Services                      P.O. Box 35701                Billings, MT 59107‐5701
Secured Party                                  Apple Financial Services 8220                 P.O. Box 30310                Los Angeles, CA 90030
Secured Party                                  Chad Eugene Little                            4156 Old Tree Rd              Palo Alto, CA 94306
Secured Party                                  Corporation Service Company                   P.O. Box 2576                 Springfield, IL 62708‐2576
Secured Party                                  Daniel Dana Jackson                           20 Trail Ln                   Woodside, CA 94062
Secured Party                                  F. Hill Harper                                16‐26 Wilcox Ave, Ste 211     Hollywood, CA 90028
Secured Party                                  James Beriker                                 220 Shaw Road                 South San Francisco, CA 94080
Secured Party                                  Moussefixe LP                                 Attn: Melisssa Jaehnig        9 West 57th St, Ste 4605                     New York, NY 10019
Secured Party                                  Mousserena, LP                                Attn: Melisssa Jaehnig        9 West 57th St, Ste 4605                     New York, NY 10019
Secured Party                                  Moussescale, LP                               Attn: Melisssa Jaehnig        9 West 57th St, Ste 4605                     New York, NY 10019
Secured Party                                  Ocean Beauty Seafoods LLC                     P.O. Box 70739                Seattle, WA 98127‐1539
Secured Party                                  Sysco Los Angeles, Inc.                       20701 E Currier               Walnut, CA 91789
Secured Party                                  Sysco Los Angeles, Inc.                       20701 E. Currier Rd           Walnut, CA 91789‐2904
Secured Party                                  Sysco San Francisco, Inc.                     5900 Stewart Ave              Fremont, CA 94538‐3134
Secured Party                                  Xerox Financial Services                      45 Glover Ave                 Norwalk, CT 06850‐1238
Secured Party                                  Triplepoint Venture Growth Bdc Corp.          2755 Sand Hill Rd, Ste 150    Menlo Park, CA 94025‐7087
Secured Party                                  Andrew N. Allen                               Address Redacted
Secured Party                                  Chad Eugene Little                            Address Redacted
Secured Party                                  Daniel Dana Jackson                           Address Redacted
Secured Party                                  F. Hill Harper                                Address Redacted
Secured Party                                  Moussefixe LP                                 Address Redacted
Secured Party                                  Mousserena, LP                                Address Redacted
Secured Party                                  Moussescale, LP                               Address Redacted
Creditors Who May Assert a Security Interest   Triple B Corporation, dba Charlie’s Produce   c/o Sussman Shank LLP         Attn: Jeffrey C. Misley, Kristen G. Hilton   1000 SW Broadway, Ste 1400   Portland, OR 97205‐3089




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                             Court Service List

[None]




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